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ICE

Unsecured Creditors' Committee of Auburn Invoice 505448 Page 1
Foundry, Inc. December 13, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

er

LEGAL & BUSINESS ADVISORS

FOR SERVICES RENDERED THROUGH November 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0004
Committee Meetings & Discussions
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

11/01/04 Discussions with Committee members regarding status and

fees (.3).

H. Efroymson 30 hrs. 355.00/hr § 106.50
11/26/04 Communications with Committee regarding financial results

and reports and other administrative matters (.2).

H. Efroymson -20 hrs. 355.00/hr § 71.00

Summary of Fees

Hours Rate/Hr Dollars

H. Efroymson 0.50 355.00 177.50

TOTAL 0.50 355.00 177.50
TOTAL Fees for Professional Services ....... 0.0.0... ccc eee eee e eee eeee. $ 177.50
TOTAL DUE FOR THIS MATTER ............ cee eee eeecveeee Lee ee eee ew eee ewe $ 177.50
PLEASE REMIT TOTAL INVOICE BALANCE DUE ......... 0. cece cee eee cece ceeeeee. $ 177.50

ACCOUNTS ARE DUE UPON RECEIPT

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Case 04-10427-reg Doc 569-4 Filed 03/07/05 Page 2 of 11

REMITTANCE PAGE

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Committee Meetings & Discussions
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0004
INVOICE #: 505448
PLEASE REMIT TOTAL INVOICE BALANCE DUE ....... ccc cece eee cece eee een ecuce $ 177.50

ACCOUNTS ARE DUE UPON RECEIPT
Case 04-10427-reg Doc 569-4 Filed 03/07/05 Page 3 of 11

Unsecured Creditors' Committee of Auburn Invoice 505449 Page 1
Foundry, Inc. December 13, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

LEGAL & BUSINESS ADVISORS

FOR SERVICES RENDERED THROUGH November 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0005
Case Administration
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

11/01/04 Reviewed Amended Court Notices, and dates up (.2).

H. Efroymson .20 hrs. 355.00/hr § 71.00
11/05/04 Communications with attorney for Debtor regarding payment

of administrative claims (.2).

H. Efroymson .20 hrs. 355.00/hr § 71.00
11/10/04 Prepared statement and notice for Court (.2).

H. Efroymson .20 hrs. 355.00/hr § 71.00
11/12/04 Researched issues and surveyed grounds for the appointment

of Trustee in bankruptcy cases.

N. Allen 1.10 hrs. 165.00/hr § 181.50
11/12/04 Reviewed Application to Employ Warsco, and communicated

with attorney for Debtor regarding same {.3); reviewed
Motion for Relief from Stay filed by Rosebrock (.1);
researched basis for appointment of Chapter 11 Trustee

(.5).
H. Efroymson .90 hrs, 355.00/hr § 319.50
11/16/04 Reviewed Motion to Reject Employment Agreement, with

exhibits and proposed Order, and Motion to Compromise with

Polich, and proposed Order (.3); communications with

attorney for Debtor regarding same (.2).

H. Efroymson .50 hrs. 355.00/hr §$ 177.50

11/17/04 Researched Section 1104 grounds as related to sale of
Debtor's assets to secured creditors/owners (1.5);
prepared memorandum regarding the same (.5).
N. Allen 2.00 hrs. 165.00/hr § 330.00

11/18/04 Conducted further research, analyzed research, and
prepared memorandum regarding grounds for the appointment
of a Chapter 11 Trustee (6.5).

N. Allen 6.50 hrs. 165.00/hr $ 1,072.50
11/18/04 Reviewed Notices from Court (Motions to Assume/Reject,
Approve Agreement and Engage Special Counsel) (.2);

communications with attorney for Debtor regarding status

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Unsecured Creditors' Cc .ittee of Auburn Invoice 505449
Foundry, Inc.

of response to request for information and documents (.1);
telephone call from Peters regarding status of case (.1).
H. Efroymson -40 hrs. 355.00/hr $

11/19/04 Reviewed memorandum on grounds for appointment of Chapter
11 Trustee, and communications with Committee regarding

same (.4).
H. Efroymson .40 hrs. 355.00/hr §

11/19/04 Revised memorandum regarding conflict of interest by
Debtor-in-Possession as it relates to the sale of Debtor's

assets (.4).
N. Allen .40 hrs. 165.00/hr §

11/22/04 Telephone call from attorney for Debtor regarding status
and Plan issues (.2); worked on Motion to Appoint Chapter

11 Trustee (.4).
H. Efroymson .60 hrs. 355.00/hr §

11/23/04 Attention to payment of administrative expenses (.2);
preparation of Motion to Appoint Chapter 11 Trustee (1.1).
H. Efroymson 1.30 hrs. 355.00/hr §

11/24/04 Reviewed itemized statement filed by counsel for Debtors
(.2); communicated with attorney for Debtor regarding
September and October Monthly Reports not filed (.2);
reviewed September Report filed today (.3); worked on
Motion to Appoint Chapter 11 Trustee (reviewed new Third
Circuit decision in G-I Holdings) (.4).
H. Efroymson 1.10 hrs. 355.00/hr §

11/26/04 Reviewed Order from Court (Ernst & Young retention) (.1);
reviewed Adequate Protection Order (.1).
H. Efroymson .20 hrs. 355.00/hr $

11/29/04 Reviewed new case law on conflicts and appointment of
Chapter 11 Trustee (.5); communications with attorney for
Debtor regarding payment of administrative expenses (.2).
H. Efroymson .70 hrs. 355.00/hr §

Summary of Fees

Hours Rate/Hr Dollars

H. Efroymson 6.70 355.00 2,378.50
N. Allen 10.00 165.00 1,650.00

Page 2

142.

142.

66.

213.

461

390.

71.

248.

TOTAL 16.70 241.23 4,028.50

TOTAL Fees for Professional SeErviCeS .... eee ee ee ee eee $
TOTAL DUE FOR THIS MATTER 1.2... . cee eee eee ee ee ee ee ee ee ee te ee tee $

PLEASE REMIT TOTAL INVOICE BALANCE DUE ......... 00 cece cece rece eect eens $

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Case 04-10427-reg Doc 569-4 Filed 03/07/05 Page 5of 11

REMITTANCE PAGE

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect. Street
Indianapolis, IN 46203

MATTER TITLE: Case Administration
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0005
INVOICE #: 505449
PLEASE REMIT TOTAL INVOICE BALANCE DUE ......... 0. cece cece eee eee ecueaee $ 4,028.50

ACCOUNTS ARE DUE UPON RECEIPT
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LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 505450 Page 1
Foundry, Inc. December 13, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH November 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0010
Financing
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

11/08/04 Reviewed Motion Relating to Adequate Protection to Bank,
and Notice on same (.3).
H. Efroymson .30 hrs. 355.00/hr $§$ 106.50

Summary of Fees

Hours Rate/Hr Dollars

H. Efroymson 0.30 355.00 106.50

TOTAL 0.30 355.00 106.50
TOTAL Fees for Professional Services ....... 0... 0. ccc cee cece ccc eee eeeeee $ 106.50
TOTAL DUE FOR THIS MATTER ......... ccc cece eee ce eee e ee ete nee eneeeee $ 106.50
PLEASE REMIT TOTAL INVOICE BALANCE DUE ......... cece cece eee n cece eceeeee $ 106.50

ACCOUNTS ARE DUE UPON RECEIPT

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REMITTANCE PAGE

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Financing
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0010
INVOICE #: 505450
PLEASE REMIT TOTAL INVOICE BALANCE DUE ..... eee cee ee ee ee eee eens $ 106.50

ACCOUNTS ARE DUE UPON RECEIPT
Case 04-10427-reg Doc 569-4 Filed 03/07/05 Page 8 of 11

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LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 505451 Page 1
Foundry, Inc. December 13, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH November 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0011
Plan & Disclosure Statement
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

11/09/04 Communications with attorneys for Debtor regarding new

Plan (.2).

H. Efroymson -20 hrs. 355.00/hr § 71.00
11/10/04 Reviewed new Plan and Disclosure Statement, and forwarded

to Committee members (1.0).

H. Efroymson 1.00 hrs. 355.00/hr § 355.00
11/11/04 Reviewed and analyzed new proposed Plan and Disclosure

Statement, and discussed with Committee members (2.2);
submitted request for information to attorneys for Debtor
regarding Plan exhibits and related information (.5).

H. Efroymson 2.70 hrs. 355.00/hr $ 958.50
11/16/04 Communications with attorney for Debtor regarding Plan

(.2).

H. Efroymson -20 hrs. 355.00/hr § 71.00

Summary of Fees

Hours Rate/Hr Dollars

H. Efroymson 4.10 355.00 1,455.50

TOTAL 4.10 355.00 1,455.50
TOTAL Fees for Professional Services ......... cc cece cece cette cece nee ece $ 1,455.50
TOTAL DUE FOR THIS MATTER ...... 0... cece cece cee eee ee eee nee nn eeeenneee $ 1,455.50
PLEASE REMIT TOTAL INVOICE BALANCE DUE 1.1... cece cece ee ee cece eee eecaee $ 1,455.50

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REMITTANCE PAGE

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Plan & Disclosure Statement
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0011

INVOICE #: 505451

PLEASE REMIT TOTAL INVOICE BALANCE DUE .... 1. ee eee eee eee et ee tee

ACCOUNTS ARE DUE UPON RECEIPT

1,455.50
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LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 505452 Page 1
Foundry, Inc. December 13, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH November 30, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0015

Costs
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

ITEMIZED CHARGES:

11/16/04 E108 Postage Expense $ 5.35
E108 Courier Expense $ 4.05

Long Distance $ 2.00

Photocopies $ 22.86

TOTAL Itemized Charges 2... cece ce ee eee tee eee eee ee ene § 34.26
TOTAL DUE FOR THIS MATTER .....-. cc cece ee ee ee ee eee eee ee eee $ 34.26
PLEASE REMIT TOTAL INVOICE BALANCE DUE 2... eee eee ee eee ee ee ee eee $ 34.26

ACCOUNTS ARE DUE UPON RECEIPT

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Case 04-10427-reg

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indianapolis, Indiana 46266
(317) 236-5836

CLIENT NAME:

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REMITTANCE PAGE

Unsecured Creditors' Committee of Auburn Foundry, Inc.

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street

Indianapolis,

MATTER TITLE: Costs

Auburn Foundry,

MATTER #: 21926.0015

INVOICE #: 505452

PLEASE REMIT TOTAL INVOICE BALANCE DUE

IN 46203

Inc. Chapter 11 Bankruptcy Case

ACCOUNTS ARE DUE UPON RECEIPT

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